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IKMcD: 2020CR00686 . nes tm. 9

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TD

UNITED STATES OF AMERICA

*
Vv. "
: cRrimInaL No. \)L\-2)-< YQ

ROY C. McGRATH, *
*
Defendant. #
KHER
INDICTMENT

The Grand Jury for the District of Maryland charges:
Background

At all times material to the Indictment:
l. In 1970, the Maryland General Assembly created Maryland Environmental Services
("MES") as a corporation wholly owned by the State of Maryland to provide environmental
services such as water and wastewater management, solid waste management, composting,
recycling, dredged material management and other services to state and local government
agencies, federal government entities, and private clients.
2. MES was headquartered in Anne Arundel County, Millersville, MD; its operating funds
were generated by grants from government agencies and fees charged to governmental and
private clients for its services.
By MES was governed by an Executive Director, who was a member of a nine-member Board
of Directors. The Governor of Maryland with the advice and consent of the Maryland Senate
appointed the Executive Director of MES who served at the pleasure of the Board with the

concurrence of the Governor. The Governor also appointed five other directors with the advice
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and consent of the Senate who served staggered four-year terms. The Executive Director appointed
the Deputy Director, Secretary, and Treasurer with the approval of the Governor; they served on
the Board of Directors at the pleasure of the Executive Director. The Board of Directors had a
three-member Human Resources Committee to consider personnel matters.

4. MES functioned as an independent state corporation or state agency; MES did not pay its
employees according to the state government pay scale, but MES employees were subject to
state travel regulations including per diem limits, the requirement to submit expense report forms
within five business days of completion of travel and supported by itemized receipts, and state
policies regarding taking annual leave, compensatory leave, and time and attendance reporting.
After July 2019, MES employees maintained their official time and attendance records through a
software system called "Workday."

5. MES maintained its bank accounts at Bank of America; the accounting department of
MES issued instructions via interstate wire from Millersville, MD to the Bank of America server
in Virginia to direct the payment of travel expense reimbursements and salary payments to its
employees through direct deposit into their bank accounts.

6. MES received benefits through federal grant support and other funding from agencies of
the United States, including the Environmental Protection Agency, the Department of the Interior
and the Department of Transportation. For example, MES received grant funding from the
Environmental Protection Agency pursuant to the Diesel Emissions Reduction Act for the
upgrading or replacement of trucks, engines, forklifts, and yard tractors in and around the Port of

Baltimore in the amounts shown below per calendar year:

 

 

 

 

Calendar Year Total Federal Funds
2018 $262,491.24
2019 $1,857,417.04
2020 $832,903.59

 

 

 

 
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7. The Academy Art Museum, 106 South Street, Easton, Maryland was founded in 1958 to
create a place dedicated to the knowledge, practice, and appreciation of the arts. It is accredited
by the American Alliance of Museums and houses a permanent collection of paintings, drawings
photographs, and prints. The Academy Art Museum hosted national and regional exhibitions,
concerts, lectures, education programs, and visual and performing arts classes for adults and
children. The Museum collaborated with other non-profit organizations to host events in the
annual Waterfowl Festival, Plein Air Competition and Arts Festival, Chesapeake Film Festival
and Chesapeake Chamber Music Festival. The Museum was governed by a Board of Directors
who generally pledged and paid monies personally to support the work of the Museum.

The Defendant
8. ROY C. McGRATH ("McGRATH") was appointed by the Governor of Maryland in
December 2016 to serve as Executive Director of MES. In March 2017, MeGRATH was
confirmed by the Maryland Senate; he resigned as of May 31, 2020 to become the Governor's
Chief of Staff effective as of June 1, 2020.

9. MES paid McGRATH an annual salary plus bonuses:

 

 

 

 

 

 

 

 

YEAR SALARY BONUS
2017 $199,299.02 $30,000
2018 $219,549.68 $43,000
2019 $228,811.20 $44,932
2020 $233.647.23 left MES before bonus awarded
left MES partway
through 2020

 

 
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10. MeGRATH maintained a personal bank account ending in ***5782 at SunTrust Bank,
Parole, Maryland. McGrath directed MES to direct deposit his salary, bonuses, and travel
reimbursements into the ***5782 account.

11. ©MeGRATH was an agent and fiduciary of MES and owed MES a duty of loyalty to conduct

its business for the benefit of MES and to advance the interests of MES.

The Scheme to Defraud

12. From in and around March 2019 through in and around December 2020, in the District
of Maryland, the Defendant
ROY C. McGRATH

knowingly and willfully devised and intended to devise a scheme and artifice to defraud MES and
the State of Maryland of money and property through materially false and fraudulent pretenses,
representations and promises, including the concealment and omission of material information.
(hereafter “Scheme and Artifice to Defraud”).

The Purpose of the Scheme and Artifice to Defraud
13. The purpose of the Scheme and Artifice to Defraud was for McGRATH to enrich himself
personally by using his positions of trust as the Executive Director of MES and the chief of staff
for the Governor of Maryland to cause MES to make payments on MecGRATH's behalf or to
McGRATH personally to which he was not entitled, to cause the MES Board of Directors to vote
for benefits for MeGRATH based on false and misleading information, to cause MES to pay
personal benefits for McGRATH after he left MES through McGRATH's own approval of
remimbursements for payments made by Subordinate Employee #1 on MecGRATH's behalf, and
to conceal the payments and circumstances surrounding the payments from the Governor of

Maryland and the MES Board of Directors.
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Manner and Means of the Scheme to Defraud
14. It was a part of the Scheme and Artifice to Defraud that MeGRATH submitted through
Workday false time and attendance reports while he was on vacation resulting in overpayments
to him.
15. It was a part of the Scheme and Artifice to Defraud that MeGRATH caused MES funds
to be paid to the Academy Art Museum where he was a member of the Board of Directors in
place of McGRATH's using personal funds to pay his pledge to the Academy Art Museum.
16. It was a part of the Scheme and Artifice to Defraud that on May 18, 2020, while
McGRATH was the Executive Director of MES, he interviewed with the Governor of Maryland
regarding changing jobs within State Government and moving from MES to become the
Governor's Chief of Staff.
17. It was a part of the Scheme and Artifice to Defraud that MeGRATH wanted to receive a
salary as Chief of Staff which matched his MES yearly salary of $233,647.23 as well as a
"severance payment" from MES in the amount of his yearly salary as MES Executive Director or
$233,647.23.
18. It was a part of the Scheme and Artifice to Defraud that MeGRATH claimed to the
Governor and to a member of the Board of Directors of MES that becoming Chief of Staff would
require taking a substantial pay cut from his MES salary.
19. It was a part of the Scheme and Artifice to Defraud that MeGRATH failed to disclose to
the Governor the material fact that he intended to seek from the MES Board of Directors a
"severance payment" from MES in the amount of his yearly salary as MES Executive Director or

$233,647.23.
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20. It was a part of the Scheme and Artifice to Defraud that following MeGRATH's meeting
with the Governor, MeGRATH texted State Official #1 that he would accept the job as Chief of
Staff. MeGRATH texted State Official #1 that his yearly salary at MES was $233,647.23. State
Official #1 emailed State Official #2 and copied McGRATH stating that MeGRATH "and the
Governor have agreed to a salary of approximately $233,000," and McGRATH did not correct
the statement.

21. It was a part of the Scheme and Artifice to Defraud that McGRATH requested through
members of the MES Board of Directors a "severance payment" in the amount of his yearly salary
as MES Executive Director or $233,647.23.

22. ‘It was a part of the Scheme and Artifice to Defraud that MeGRATH became aware that
the Board of Directors of MES was reluctant to vote such a generous severance for him unless and
until the Governor approved a payment to MeGRATH in the amount of his yearly salary as MES
Executive Director or $233,647.23.

23. It was a part of the Scheme and Artifice to Defraud that to a member of the Board of
Directors of MES, MCGRATH

a. falsely represented that the Governor knew of MecGRATH's request to the MES Board of
Directors for a "severance payment" in the amount of his yearly salary as MES Executive Director
or $233,647.23 and

b. falsely represented that the Governor approved of the "severance payment" in the amount
of McGRATH's yearly salary or $233,647.23.

24. ‘It was apart of the Scheme and Artifice to Defraud that McGRATH falsely represented to
a member of the MES Board of Directors that MeGRATH was taking a pay cut from his MES

salary to become the Chief of Staff of the Governor.
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25. — It wasa further part of the Scheme and Artifice to Defraud that when a member of the MES
Board of Directors texted McGRATH:
Hi, the HR committee wants to make sure that the governor would be OK with you
receiving severance equal to one year's pay. They are worried about the optics and don't
want to do anything to make the Governor look bad. | told them that I thought that the

governor was aware and was OK with it. Correct?

McGRATH falsely responded:

It's anticipated, yes. Not to mention the precedences [sic]

26. It was a part of the Scheme and Artifice to Defraud that MeGRATH caused members of
the Board of Directors to falsely report to the full Board of Directors at their meeting on May 28,
2020, that the Governor had approved, or was aware of and consented to, the payment to
MCGRATH of $233,647.23 or an amount equal to his yearly salary as MES Executive Director.
27. It was a part of the Scheme and Artifice to Defraud that at their meeting on May 28, 2020,
relying upon the false text messages and statements of MeGRATH regarding the Governor's
knowledge and approval of a "severance payment" from MES in the amount of his yearly salary
as MES Executive Director or $233,647.23, the MES Board of Directors unanimously voted for
McGRATH to receive a severance payment of an amount equal to one year's salary, which was
$233,647.23, plus tuition reimbursement in the amount of $5,250, which amounts were rounded
up to $239,000, plus the continued use of MeGRATH's MES-issued laptop computer and cell
phone in his new position as the Governor's Chief of Staff.

28. It was a part of the Scheme and Artifice to Defraud that on May 28, 2020, at the MES
Board of Directors meeting, MeGRATH did not include in his request to the MES Board of
Directors a request for $14,475 to pay his tuition for the Harvard Kennedy School Executive
Education program for May 31, 2020 — June 26, 2020, which program would occur following the

end of McGRATH's employment at MES.
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29. It was a part of the Scheme and Artifice to Defraud that during the evening of May 28,
2020, MeGRATH asked Subordinate #1, whom he supervised at MES, to pay his Harvard
Kennedy School invoice HKSEE014115 in the total amount of $14,475.

30. It was a part of the Scheme and Artifice to Defraud that on May 28, 2020, McGRATH
emailed Subordinate #1 a copy of invoice HKSEE014115 in the total amount of $14,475.

31. It was a part of the Scheme and Artifice to Defraud that Subordinate #1 paid Invoice
HKSEE014115 in the total amount of $14,475 for MeGRATH's Harvard Kennedy School
program with a personal credit card.

32. It was a part of the Scheme and Artifice to Defraud that the following day, on May 29,
2020, Subordinate #1 submitted an expense report to MES on its computerized expense
reimbursement system for reimbursement of the $14,475 Subordinate #1 had paid on
McGRATH's behalf.

33. It was a part of the Scheme and Artifice to Defraud that also on May 29, 2020, MecGRATH
approved the expense report of Subordinate #1, including the payment of $14,475 to Subordinate
#1 of MES funds to reimburse Subordinate #1 for his expenditure on MeGRATH's behalf.

34. It was a part of the Scheme and Artifice to Defraud that MES reimbursed Subordinate #1
$14,475 for his payment on MecGRATH's behalf.

35. It was a part of the Scheme and Artifice to Defraud that MeGRATH attended the Harvard
Kennedy School Program following his resignation from MES.

36. On June 17, 2020, Subordinate Employee #1 texted MeGRATH and asked whether
McGRATH would like to review the minutes from the Board of Directors meeting in May [where

the severance package was approved]: MeGRATH texted in response, "Yes . . . offline."
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37. In and around June 27, 2020, through Subordinate Employee #1, MeGRATH proposed
that the public version of the minutes of Board of Directors' meeting of May 28, 2020, would state
only that a "motion [was made] that the Board enter closed session to discuss the compensation of
a specific employees [sic] of the Maryland Environmental Service." McGRATH attempted to
delete, or cause to be deleted, from the proposed public minutes any mention of compensation of
either MeGRATH or compensation of the Executive Director of MES, or the amount $233,647.23,
or the description of the compensation as a "year's salary."
38. It was a further part of the Scheme and Artifice to Defraud that in early August 2020, when
the Governor first became aware of the fact and amount of the "severance payment" from MES to
McGRATH, the Governor asked MeGRATH about the fact and the amount of the "severance
payment." MeGRATH falsely responded to the Governor that the MES Board of Directors had
offered him the "severance payment" in accordance with their usual practice. MeGRATH further
concealed from the Governor that MecGRATH had falsely represented to members of the MES
Board of Directors, and caused them to falsely represent to the entire Board, that the Governor was
aware of, and consented to, the proposed payment to MeGRATH of a "severance payment" from
MES in the amount of his yearly salary as MES Executive Director or $233,647.23.
THE CHARGES

39. On or about the dates set forth below, in the District of Maryland and elsewhere. the
defendant

ROY C. McGRATH
for the purpose of executing the Scheme and Artifice to Defraud and attempting to do so, did
transmit and cause to be transmitted by means of wire communication in interstate commerce

writings, signs, signals, and sounds, namely:
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Count | Interstate
Transmission

Description of Interstate Transmission

 

I 5/28/2020

Interstate Email from MeGRATH in Maryland to Subordinate
#1's personal email account in Washington, D.C., sending
Harvard Kennedy School Invoice HKSEE014115 in the total
amount of $14,475

 

2 6/5/2020

MES Accounting Department, Millersville, MD electronic
instruction to Bank of America ACH Payment System, Virginia
to transfer $14,970 to the bank account of Subordinate #1, which
included reimbursement for $14,475

 

3 6/10/2020

MES Accounting Department, Millersville, MD electronic
instruction to Bank of America ACH Payment System, Virginia
to transfer $125,517.79 to McGRATH's Suntrust Bank account
ending in **** 5782, a portion of the approved severance
payment of $233,647.23.

 

4 6/27/2020

 

 

 

Subordinate #1's email from Washington, D.C. through MES
server, Millersville, MD, to paralegal: "we have some additional
edits to the May BOD [Board of Directors] minutes"

 

18 U.S.C. § 1343

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COUNTS FIVE — SIX

1. The allegations of Count 1, Paragraphs 1-11 are hereby incorporated by reference.
2 In each twelve-month period set forth below, in the District and Maryland and elsewhere,
the Defendant

ROY C. MCGRATH
who was an agent of an organization, namely MES, which received federal benefits in excess of
$10,000 in the twelve-month periods set forth below, embezzled, stole, obtained by fraud, and

intentionally misapplied property, including funds, of MES valued at $5,000 or more:

 

 

 

Count | Calendar | Misapplied Funds Method
Year
5 2019 a. Salary in the a. McGRATH's failure to take annual leave
approximate amount | while on a vacation cruise to Spain, France &
of $6,526.36 Italy from 8/3/2019 — 8/13/2019;
b. $15,000 b. Use of MES funds to pay MCGRATH's
personal pledge to Academy Art Museum;
c. Salary in the
approximate amount | ¢- McGRATH's failure to take annual leave
of $1,729.88 while on a vacation in Naples, FL from
December 26 — 30, 2019.

6 2020 a. $233,647.23 a. Causing Board of Directors of MES to rely on
false and fraudulent information to approve
payment of a year's salary of $233,647.23 to
McGRATH as a severance payment;

b. $14,475.00 b. Causing MES to reimburse Subordinate #1 for

his payment of McGRATH's personal expense,
namely $14,475 in tuition expenses for the
Harvard Kennedy School of Government.

 

 

 

 

 

 

18 U.S.C. § 666 (a)(1)(A)

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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

Ll; Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant that
the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of a defendant’s
conviction of any of the offenses charged in Counts One — Six.

2. Upon conviction of any of the offenses set forth in Counts One — Six of this
Indictment, the defendant,

ROY C. McGRATH

shall forfeit to the United States any property, real or personal, which constitutes or is derived
from proceeds traceable to the offenses.

3. The property to be forfeited includes, but is not limited to, the following:

a. a money judgment in the amount of proceeds the defendant obtained as the
result of his offenses of conviction; and

b. up to $119,000 in proceeds transferred to the Defendant's TD Ameritrade

account ending in ***3059.

Substitute Assets
4. If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or

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ee has been commingled with other property which cannot be divided without

difficulty,
the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.

§ 853(p), as incorporated by 28 U.S.C. § 2461(c).

18 U.S.C. § 981(a)(1)(C); 21 U.S.C. § 853(p); 28 U.S.C. § 2461(c)

Ortaca. Hesegantn/ yb pyle
onathan F. Lenzner

Acting United States Attorney

A TRUE BILL:

SIGNATURE REDACTES

Féreperson

16 /S/a0a,|

Date

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